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                                                   Under California law, to establish malice, it is not sufficient to show
                                            that the defendant's conduct was negligent, grossly negligent or even
                                            reckless, since such findings will not support a claim for punitive damages.
                                            See, Flyers Body Shop Profit Sharing Plan v. Ticor Title Ins. Co, (1968) 185
                                            Cal.App.3d 1149, 1154-55.

                                                   Further, punitive damages cannot be pled in conclusory terms, instead
                                            the facts supporting a claim for punitive damages must be set out clearly,
                                            concisely, and with particularity. See, Smith v. Superior Court (1992) 10
                                            Cal.App.4th 1033, 1041-42, and Lehto v. Underground Construction Co,
                                            (1977) 69 Cal.App.3d 933, 944.

                                                   In Smith v. Superior Court (1992) 10 Cal.App.4th 1033, the court
                                            granted defendant's writ, reversing the trial court's denial of defendant's
                                            motion to strike, and after discussing improper conclusory pleading of
                                            punitive damages as set forth in G.D. Searle and Brousseau, stated:

                                            "Here, a similar situation is presented. Plaintiff's amended complaint alleges
                                            petitioners failed to adequately represent her and her property interests in
                                            the dissolution proceeding thereby resulting in economic injury. The sole
                                            basis for seeking punitive damages is the conclusory allegations of paragraph
                                            14. As noted above, that paragraph is devoid of any factual assertions
                                            supporting a conclusion petitioners acted with oppression, fraud or malice."
                                            Id., at 1042.

                                                   In short, merely characterizing conduct as fraudulent, malicious or
                                            oppressive is insufficient, the actual conduct pled in the complaint must meet
                                            the statutory definitions for conduct for which punitive damages may be
                                            recovered.

                                                  Turning to the factual allegations of the FAC, the Plaintiff alleges that
                                            Defendants engaged in the following conduct:

                                                   (a)          Failed to provide Plaintiff with a written retainer agreement
                                            (FAC I 8);

                                                  (b)    Sent Plaintiff a letter stating:
                                            "Approximately 50% of evictions in Southern California are uncontested;

                                            The typical contested residential eviction, including attorneys' fees, court fees
                                            and other fees, with one bench trial appearance costs between $1,105.00
                                            and $1,165.00 depending on the county where the premises are located;

                                            The typical contested eviction averages 40 to 50 days from the filing of the
                                            complaint through lockout by the sheriff; and

                                            In about 10% of Defendants' cases, a defendant will contest the eviction and
                                            engage in delaying tactics that will increase the fees and costs."
                                            (Id. 11 11).

                                                   (c)     Failed to represent Plaintiff in the UD Action within the standard
                                            of care (Id. ¶ 23(a) & (b));

                                                   (d)          Failed to keep Plaintiff advised of status of the UD litigation (Id.
                                            ¶ 23(c));

                                                  (e)    Charged "unreasonable and unnecessary fees, caused delay
                                            and unnecessary litigation, and failed to correct mistakes in pleadings (Id.
                                            23(d)& (g));


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                                                   (f)   Incorrectly named Duane Stroh individually as Plaintiff rather
                                            than the owner of the subject property, e.g. the Stroh Trust (Id. 16(b) & (g));

                                                    (e)    Deliberately misrepresented and concealed information about
                                            the rights and remedies of the subtenants under the Los Angeles Rent
                                            Stabilization Ordinance that would have permitted earlier settlement (Id. /
                                            23(f))

                                                  (f)    Advised Plaintiff not to accept a settlement offer before
                                            proceeding with litigation. (Id. ¶ (f) & (g)).

                                                   As to the conduct that would tend to fall within the fraud prong for an
                                            award of punitive damages, the FAC again fails to allege the facts as to
                                            misrepresentations or concealment by Defendants with the required level of
                                            specificity.

                                                    Plaintiff correctly notes that punitive damages may be recovered in a
                                            claim for breach of fiduciary duty. However, Plaintiff fails to cite any authority
                                            for the proposition that this dispenses with the need to plead either fraud by
                                            the fiduciary, or despicable conduct by the fiduciary in connection with malice
                                            or oppression.

                                                   Thus, based upon the conduct alleged, the allegations as to fraudulent
                                            conduct fail because they are not pled with the level of specificity required to
                                            plead fraud. Also, the Plaintiff is required to plead facts as to punitive
                                            damages with particularity. Smith v. Superior Court, supra at 10422.

                                                   The balance of the alleged conduct by the Defendant lawyers, even
                                            considered as a whole, is insufficient to meet the "...conduct that is so vile,
                                            wretched, and loathsome that it would be looked down upon by decent
                                            people..." test for despicable conduct. Mock v. Michigan Miller's Mutual Ins.
                                            Co. (1992) 4 Cal.App.4th 306, 331.

                                                      Based upon the foregoing, the court GRANTS the motion to strike.

                                                   Because it appears that the complaint could be amended to
                                            adequately allege fraudulent conduct by making more specific allegations,
                                            the court grants 10 days leave to amend.

                                                      Defendant's Request for ,judicial Notice is GRANTED as to Items
                                            2-4, and DENIED as to Items 1& 5. Judicial notice is limited to the existence
                                            of, the filing of, and the legal effect of the court records, and not as to the
                                            truth of any disputed factual matter therein.

                                            Moving party to give notice.

                                            Future Hearings:
                                            MSC: 2/23/18 8:30 am
                                            Trial: 5/21/18 8:30 am

    3         WDI (Xiamen)                  Motion to Strike WDI's Answer and Enter Its Default
              Technology,
              Inc. vs. WDI                  RULING: Upon confirmation that counsel Thomas J. Borchard of Borchard &
              International,                Callahan, APC is representing WDI International, Inc. as defendant/cross-
              Inc.                          complainant in this civil action, and as plaintiff in the related Axent matter,
                                            the motion to strike defendant WDI International, Inc.'s answer, or to dismiss
              14-743604                     its cross-complaint and/or complaint in the Axent matter, are all DENIED.

                                             Defendant/cross-complaint/plaintiff WDI International, Inc. has now
                                            substituted in counsel and so can again defend and represent itself in this
                                            civil action. See, Paradise v. Nolin (1948) 86 Cal.App.2d 897, 898.
http://www.occourts.org/tentativerulings/jcrandallrulings.htm                                                                    7/19
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                                             Next, counsel for all parties are ordered to have counsel with authority to
                                            reset these matters for trial in the near future.

                                            Finally, defendant/WDI International, Inc.'s 10 discovery motions remain set
                                            for hearing on 1-25-18, at 1:30 p.m., in Department C-33. (See, 11-3-17
                                            Minute Order.) All briefing on these discovery motions set for hearing on 1-
                                            25-18 is to be according to code.

                                             Except for these 10 discovery motions all other discovery dates have expired
                                            and discovery will not be reopened as set forth in the court's order of 8-18-
                                            17. (See, 10-25-17 Minute Order.)

                                            Prevailing party to give notice.

                                            Request for Judicial Notice:
                                            Plaintiff/cross-defendant WDI (Xiamen) International, Inc., et al. requested
                                            that the court taken judicial notice of the following documents in support of
                                            their joint motion to strike the pleadings by WDI International Inc.:
                                            Exhibit 1, Notice of Motion and Motion to Be Relieved as Counsel filed 8-24-
                                            17, Exhibit 2, Order of WDI International's Ex Parte Application filed 8-28-17,
                                            Exhibit 3, Minute Order of 10-5-17,
                                            Exhibit 4, Minute Order of 10-12-17,
                                            Exhibit 5, Notice of Ruling on Motion to Be Relieved as Counsel filed 10-12-
                                            17, Exhibit 6, Order Granting Attorney's Motion to Be Relieved as Counsel
                                            filed 10-17-17, and
                                             Exhibit 7, Proof of Service on Order Granting Motion to Be Relieved as
                                            Counsel by Mail filed 10-17-17.
                                            GRANTED as to Exhibits 1, 2, 3, 4, 5 and 6, but such notice as to Exhibits 1,
                                            5 and 7, is limited to the filing of these pleadings with this court but not as to
                                            any claims or contentions set forth therein. See, Evidence Code § 452(d) and
                                            Day v. Sharp (1975) 50 Cal.App.3d 904, 914.

                                            Future Hearings:
                                            Motions to Compel: 1/25/18 1:30 pm

    4         Jaime vs.                     Motion to Strike Portions of First Amended Complaint
              Hussain
                                                   A motion to strike may be utilized to strike punitive damages claims
              17-926118                     not supported by the facts pled in the complaint. Woodland Production Credit
                                            Assn. v. Nicholas (1988) 201 Cal.App.3d 123, 129.

                                                       Plaintiff's First Amended Complaint alleges:

                                                   (a)    Plaintiff retained Defendant to represent her in a medical
                                            malpractice action against Cal. Family Medical Center, Dr. Massoudian, &
                                            United Medical Imaging (FAC ¶ 15);

                                                   (b)    After tender of an intent to sue letter, Plaintiff received a
                                            settlement offer of $17,500.00 (FAC V11 16 & 18);

                                                   (c)    Defendants advised Plaintiff that the settlement offer was too
                                            low. In June 2016, Defendants advised Plaintiff that a settlement had not
                                            been reached and that a lawsuit had to be filed (FAC V 19);

                                                   (d)    Plaintiff called Defendants on 07/11/16 inquiring about the
                                            lawsuit, and was told that Defendants would be filing suit immediately (FAC V
                                            20);

                                                  (e)    Defendants failed to file the lawsuit by the 07/17/16 deadline.
                                            Defendants also failed to advise Plaintiff about the statute of limitations, or
http://www.occourts.org/tentativerulings/jerandallrulings.htm                                                                 8/19
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                                            the fact that it was about to expire on 07/17/16. Had Plaintiff been aware of
                                            this fact, she would have hired other counsel to timely file suit (FAC 121);

                                                   (f)      Plaintiff contacted Defendants a number of times after
                                            07/17/17 and was advised that there was still time to file suit before the
                                            statute of limitations ran, and the lawsuit would be filed promptly (FAC 122);

                                                   (g)    On 02/17/17, Plaintiff met with Defendants, show advised her
                                            that they had failed to timely file suit before the SOL ran, and apologized
                                            (FAC ¶ 23);

                                                  (h)    Defendants filed suit on 02/22/17 and each defendant filed a
                                            demurrer seeking to terminate the action based upon SOL grounds (FAC ff
                                            24 & 25);

                                                   (i)    Defendants then dropped Plaintiff's lawsuit, failing to oppose
                                            the demurrers. The action was eventually dismissed exposing Plaintiff to
                                            costs claims by the medical provider defendants. (Id. If 26 & 27).

                                                   Punitive Damages Based upon Fraud. Unlike malice or oppression,
                                            a plaintiff who successfully pleads a claim based upon fraud need not show
                                            that the defendant's conduct was "despicable."

                                                     The complaint alleges at least one incident as to misrepresentation,
                                            i.e. in a telephone conversation on 07/11/16, Plaintiff was told that
                                            Defendants would be filing suit immediately, given the 07/17/16 deadline to
                                            file suit before the statute ran. (FAC ¶ 20).

                                                   Fraud must be pleaded with specificity. Scafidi v. Western Loan &
                                            Bldg. Co. (1946) 72 Cal.App.2d 550, 557.

                                                    The FAC pleads the date of the misrepresentation and mode of
                                            transmission. The actual misrepresentation arguably is not pled with
                                            specificity, but as the Defendant was a fiduciary, the misrepresentation
                                            (actually promissory fraud) is adequately alleged for purposes of a motion to
                                            strike. The speakers are identified as both Defendant Hussain and the law
                                            firm. While improbable, the court is required to consider the allegation true
                                            for purposes of this motion.

                                                   The other elements of a claim for promissory estoppel are adequately
                                            alleged as follows:
                                                   (ii) Plaintiff's reasonable and foreseeable reliance (Pled in ¶ 21);
                                                   (iii) Defendant's failure to perform (Pled in 123); and
                                                   (iv) Injury to Plaintiff as a result of the reliance (Pled in I31 &
                                            Prayer).

                                                   Thus the FAC alleges a claim for fraud and deceit by a fiduciary, which
                                            is grounds for punitive damages.

                                                    The FAC also alleges that the Defendants concealed from the Plaintiff
                                            that fact that they had not timely filed suit until after the statute of
                                            limitations had already run and Plaintiff had been injured. Paragraph 19
                                            alleges that Hassan represented that he would timely file suit, and did not
                                            inform Plaintiff about the statute of limitations and the fact that it would
                                            expire on 07/17/16. Defendant Hassan falsely represented to Plaintiff before
                                            the statute of limitations had run that suit would be filed promptly. (FAC ifill
                                            21 & 22).

                                                  Taken as a whole, this conduct of promissory estoppel and
                                            concealment is sufficient to support a claim for punitive damages under Civ.
                                            Code § 3294(c)(3).
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                                            RULING:
                                            Defendant's Request For Judicial Notice is GRANTED. Judicial notice is limited
                                            to the existence of, filing of, and legal effect of the pleadings, but not as to
                                            the truth of any disputed factual matter therein.

                                            Defendant Shahnaz Hussain, Individually and dba 'Law Offices of Shahnaz
                                            Hussain" Motion to Strike Portions of Plaintiff's First Amended Complaint is
                                            DENIED.

                                            Defendant to answer the Plaintiff's First Amended Complaint within ten days.

                                            Moving party to give notice.

                                            Future Hearings:
                                            MSC: 3/2/18 8:30 am
                                            Trial: 4/23/18 8:30 am

    5         Manos vs. The                 Motion for leave to file supplemental complaint.
              Wolf Firm
                                            C.C.P. § 473(a)(1) provides that: "The court may, in furtherance of justice,
              16-885625                     and on any terms as may be proper, allow a party to amend any pleading or
                                            proceeding by adding or striking out the name of any party, or by correcting
                                            a mistake in the name of a party, or a mistake in any other respect; and
                                            may, upon like terms, enlarge the time for answer or demurrer. The court
                                            may likewise, in its discretion, after notice to the adverse party, allow, upon
                                            any terms as may be just, an amendment to any pleading or proceeding in
                                            other particulars; and may upon like terms allow an answer to be made after
                                            the time limited by this code."

                                            If a motion to amend is timely made, and there is no showing of prejudice, it
                                            is error to deprive a party of a meritorious cause of action or a meritorious
                                            defense. It is a rare case in which a court will be justified in refusing leave to
                                            amend. See, Morgan v. Superior Court (1959) 172 Cal.App.2d 527, 530.

                                            In Honig v. Financial Corp. of America (1992) 6 Cal.App.4th 960, the court
                                            stated: 'In the furtherance of justice, trial courts may allow amendments to
                                            pleadings and if necessary, postpone trial." Id., at 965. Motions to amend are
                                            appropriately granted as late as the first day of trial, or even during trial. Id.,
                                            at 965.

                                            Leave to amend can be denied where a proposed amendment fails to state a
                                            valid cause of action or defense. California General Cas. Ins. Co. v. Superior
                                            Court (1985) 173 Cal.App.3d 274, 281. This includes an action subject to
                                            demurrer as being barred by res judicata and/or the statute of limitations.
                                            Yee v. Mobilehome Park Rental Review Bd. (1998) 62 Cal.App.4th 1409,
                                            1429.

                                            But if further leave to amend would likely be granted, then grounds for
                                            demurrer or a motion to strike are premature, since the opposing party will
                                            have an opportunity to attack the validity of the amended pleading by way of
                                            demurrer or a motion to strike. Kittredge Sports Co. v. Superior Court (1989)
                                            213 Cal.App.3d 1045, 1048, and Rutter, Civil Procedure Before Trial, Section
                                            6:644.

                                            Defendants were already aware that plaintiff was intending to bring a cause
                                            of action for interference with contract as this cause of action was stricken
                                            from plaintiff's first amended complaint but with leave to bring a motion for
                                            leave to amend to assert the same.


http://www.occourts.org/tentativerulings/jerandallrulings.htm                                                                 10/19
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                                            Representative Action in Relation to Bus. & Prof. Code § 17200
                                            Claims
                                            Plaintiff Manos opted out of the Terry class action but seeks to assert causes
                                            of action for violation of the California and federal debt collection practice's
                                            acts and a cause of action for violation of Bus. & Prof. Code § 17200 related
                                            thereto.

                                            In both plaintiff Manos' second amended complaint and plaintiff's proposed
                                            third and supplemental complaint as to his fifth cause of action for violation
                                            of Bus. & Prof. Code § 17200, plaintiff Manos is asserting these as both
                                            individually and as representative claims.

                                            Unless plaintiff Manos elects to dismiss all representative claims this action
                                            should be re-assigned to a complex litigation department.

                                            Plaintiff Manos is seeking leave to file a third supplemental amended
                                            complaint. This would leave two pleadings, plaintiff's second amended
                                            complaint and plaintiff's supplemental third amended complaint. Some of the
                                            actions in the proposed third amended supplemental complaint have the
                                            same cause of action number as plaintiff's second amended complaint.

                                            Trial courts generally require an amended complaint and not an amendment
                                            to a complaint. Rule 3.1324(c) provides that: "The court may deem a motion
                                            to file an amendment to a pleading to be a motion to file an amended
                                            pleading and require the filing of the entire previous pleading with the
                                            approved amendments incorporated into it."

                                            Rutter notes that: "Except for amendments to change the name of a
                                            fictitiously named defendant, courts generally require amended pleadings
                                            rather than amendments to pleadings. [CRC 3.1324(c); see ¶6.622]" See,
                                            Rutter, Civil Procedure Before Trial, Section 6:673.

                                            Defendant JP Morgan contends it will be prejudiced as another pleading
                                            round will impair its ability to bring a motion for summary judgment with trial
                                            set for June 2018. Any such prejudice can be alleviated by a further
                                            continuance of trial and the court may condition leave to amend on various
                                            conditions such as a continued trial date. C.C.P. §§ 473(a)(1) and 576 and
                                            Honig v. Financial Corp. of America (1992) 6 Cal.App.4th 960, 965.

                                            RULING: Unless plaintiff John C. Manos elects to dismiss all representative
                                            claims asserted in his present civil action, this civil action will be ordered
                                            reassigned to the Complex Department that handles representative claims.

                                            Assuming plaintiff John Manos elects to dismiss all representative claims in
                                            this action, plaintiff Manos' motion for leave to file a third amended and
                                            supplemental complaint is GRANTED, on the condition that plaintiff is to file
                                            a third amended complaint with all causes of action in his second amended
                                            complaint and proposed third amended supplemental complaint being set
                                            forth in a single third amended complaint. C.C.P. § 473(a)(1).

                                            The court elects not to have two pleadings in this action.

                                            The court has not addressed the merits of the defenses raised by defendants
                                            JP Morgan or Select Portfolio, or that could be raised by any of the other
                                            defendants. Instead the court awaits any challenges to the single third
                                            amended complaint with all causes of action set forth. See, Kittredge Sports
                                            Co. v. Superior Court (1989) 213 Cal.App.3d 1045, 1048.

                                            Plaintiff John Manos is to e-file and serve any such third amended complaint
                                            within 10 court days from the hearing date on this motion.

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                                            In addition, as condition of leave to amend, the court will entertain a further
                                            continuance of the trial in this civil action if one or more of the defendants so
                                            request at the hearing on this motio. See, C.C.P. §§ 473(a)(1) and 576 ;
                                            Honig v. Financial Corp. of America (1992) 6 Cal.App.4th 960, 965.

                                            Prevailing party to give notice.

                                            Future Hearings:
                                            Demurrer: 2/15/18
                                            MSC: 5/18/18 8:30 am
                                            Trial: 6/18/18 8:30 am

    6         Walton vs. Villa              Motion for Leave to file First Amended Complaint
                                            The court has broad discretion to grant leave to amend under CCP 473(a)(1),
              17-938681                     and there is a strong policy favoring liberal granting of amendments (Rutter
                                            Group, Civil Procedure Before Trial, Chapter 6-E, Section 6:638).

                                            This policy is so strong that denial is error absent untimeliness or prejudice to
                                            the opposing party. (Id. at Section 6:639.)

                                            Here, Moving Partyy has shown why the amendment is necessary. (Szkopek
                                            Decl. in support of motion, Para. 3.)

                                             There is no Opposition and no showing by any defendant of any prejudice if
                                            the amendment is granted.

                                            Moving Party here attached the proposed First Amended Complaint as an
                                            exhibit rather than lodging a copy. Thus, it cannot be deemed filed and
                                            served.

                                            RULING:
                                            The motion by plaintiffs Kevin Walton and Laurie F. Walton for leave to file a
                                            First Amended Complaint is granted. (CCP 473(a)(1).)

                                            Moving parties attached a copy of the proposed First Amended Complaint as
                                            an exhibit to the moving papers, which cannot be detached for filing.

                                            Moving parties are ordered to electronically file a new original pleading within
                                            10 days and to serve it on defendants forthwith.

                                             Moving parties to give notice.

                                            2. CMC set for this date

                                            Future Hearings:
                                            None

    7         White vs. Spring               Off calendar. Case stayed until 02/01/2018.
              Valley Post
              Acute, LLC                    Future Hearings:
                                            Status Conference: 2/1/18 8:30 am
              17-920252                     MSC: 12/8/17 8:30 am
                                            Trial: 1/8/18 8:30 am

    8         Brailsford vs.                Motions to be relieved as Counsel.
              Florio
                                            Attorney N. Denise Taylor and her firm, Taylor Blessey LLP's motions to be
              16-854377                     relieved as counsel of record for defendants Verna G. Tiegs, M.D. and The
                                            Breast Care and Imagining Centers of Orange County is CONTINUED to
                                            January 18, 2018 at 1:30 PM.

http://www.occourts.org/tentativerulings/jcrandallrulings.htm                                                                12/19
